     Case 7:21-cr-01772 Document 205 Filed on 10/07/21 in TXSD Page 1 of 1
                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        MCALLEN DIVISION
UNITED STATES OF AMERICA      §
                              §
versus                         §    Criminal No. 7:21−cr−01772−6
                               §
Ramiro Eden Clarke             §

                      DEFENDANT RAMIRO EDEN CLARKE
             NOTICE OF INTENTION TO WAIVE DETENTION HEARING

       COMES NOW, Ramiro Eden Clarke and files this Notice of Intention to Waive
Detention Hearing:
                                                  I.
       Notice is hereby given to the Court and counsel for the United States of America that
Defendant Ramiro Eden Clarke intends to waive the detention hearing scheduled for Friday,
October 8, 2021, at 11:00AM before Magistrate Judge Nadia S. Medrano. Defendant is prepared
to proceed with arraignment. 1
                                              Respectfully submitted,

                                              RENE P. MONTALVO, P.C.
                                              /S/ RENE P. MONTALVO
                                              SBN: 14280400
                                              FBN: 10019
                                              PO BOX 16
                                              108 SPARROWS NEST (SOUTH)
                                              RIO GRANDE CITY, TX 78582
                                              TEL: 956.488.1266
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                                    CERTIFICATE OF SERVICE

AUSA in this case and all other counsel and parties in this cause were served with notice of this
instrument filing pursuant to ECF electronic notice on the 7th day of October 2021.

                                              RENE P. MONTALVO, P.C.
                                              /S/ RENE P. MONTALVO



1
 Counsel for Defendant traveled to and personally conferenced with Ramiro Eden Clarke at East Hidalgo
Detention Center early on Wednesday morning, October 6, 2021.
